
Christiancy, J.
. The defendants were tried in the Recorder’s Court of the city of Detroit, upon an information charging them with with having broken and entered the store or shop of one Murray, in the night time, with the intent feloniously to steal the goods and chattels of said Murray in said store, the information also alleging that they did .then and there feloniously steal two dollars of the money of said Murray.
The evidence tended to prove the larceny in the store, and that the defendants entered in the night time, through an area outside of the cellar, which would seem to have been excavated adjoining the cellar window, and which was covered with an iron grating, as usual in such cases, the. defendants raising the grating for that purpose, then passing, through the window, which was not shown to have been shut at the time, into the- cellar, and thence up a stairway through a trap-door, which was shut, into the store.
It was objected in the Court below, and this is the principal objection urged here, that this did not constitute a breaking within the meaning of § 5756, Compiled Laws; but that the only breaking shown was an interior breaking of the trap-door after getting into the cellar; and that such interior breaking does not come within the provisions of this section, as it would in the case of a dwelling house at common law and under the two preceding sections-of this chapter.
But we think the area or excavation in front of the window, covered and protected by the iron grating, should-properly be considered as a part or prolongation of the cellar, and-'the- grating á-s- a part of the window-for the *235admission of light, and as much for the protection of the window and the cellar against entrance from without as the sash and glass of the window could have been.
We think, therefore, the taking up of the grating constituted- an exterior, breaking as clearly as the opening of the window itself, or of the outer door.
We think, also, that under the facts stated in the record (to which we refer without repeating them here), though the ownership of the store was in Kern and under the same roof with his dwelling, yet being leased by Kern to Murray and separately occupied by the latter, with an outside' entrance distinct from that of the dwelling, and in no way used with it, the store must be considered as severed by the lease and several occupancy, and that it was not within the meaning of this section, “adjoining to or occupied with a dwelling-house.” It did not adjoin Murray’s dwelling-house nor any dwelling-house occupied by him. It was in no sense appurtenant to, connected with, or within the curtilage of his dwelling, which seems to be the meaning of the statute. The exceptions were not well taken; there was no error in the ruling of the court, and the Recorder should, we think, proceed to render the proper judgment upon the verdict. Let it be so certified to the Recorder’s Court.
The other Justices concurred.
